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                                          U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York
                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007


                                                      November 30, 2020

BY CM/ECF
The Honorable Paul A. Engelmayer
United States District Judge
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:     United States v. Ari Teman, S2 19 Cr. 696 (PAE)

Dear Judge Engelmayer:

        The Government writes in response to the defendant’s letter – filed on the eve of sentencing
– contesting the imposition of forfeiture in this case. See Dkt. No. 176. As set forth below, the
Government is entitled to seek forfeiture in this matter and was not required to put the question of
forfeiture before the jury.

        At the charge conference in this case, the Court recognized that neither party had submitted
jury instructions regarding forfeiture. Trial Tr. 873. Teman requested that the question of forfeiture
go to the jury. See Trial Tr. 877. The Government argued that under Rule 32.2(b)(5) of the Federal
Rules of Criminal Procedure, only the issue of forfeiture of specific property is appropriate for the
jury and, here, the Government was not seeking forfeiture of specific property. Trial Tr. 939-40.
Defense counsel agreed that there was no right to a jury determination of forfeiture except where
the Government seeks to forfeit specific property. Trial Tr. 941-42 (“MR. BHATIA: [W]e’re not
seeking specific property here. . . . THE COURT: Defense, given that, is there a basis for a jury
determination here as to forfeiture? MR. DiRUZZO: I don’t think so, Judge.”). Based in part on
the Government’s position that there was no right to jury determination of a general forfeiture
allegation, the Court did not submit the question to the jury. Trial Tr. 942.

         The law clearly supports the Court’s determination at trial. Rule 32.2(b)(5)(A) provides
that “[i]n any case tried before a jury, if the indictment or information states that the government
is seeking forfeiture, the court must determine before the jury begins deliberating whether either
party requests that the jury be retained to determine the forfeitability of specific property if it
returns a guilty verdict.” Courts have made clear that “Rule 32.2(b)(5)(A) applies only when the
Government pursues forfeiture of specific property, not when it seeks a money judgment.” See
United States v. Reese, 36 F. Supp. 2d 354, 365-66 (S.D.N.Y. 2014); see Christie v. United States,
Nos. 08 Cr. 1244, 13 Cv. 7780 (RWS), 2014 WL 2158432, at *9 (S.D.N.Y. May 23, 2014) (“Under
Rule 32.2 of the Federal Rules of Criminal Procedure, if the Government seeks to forfeit specific
property after trial, the defendant and the Government each have the option of requesting that the
jury determine whether the specific property is subject to forfeiture. If the Government seeks a
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money judgment, however, the Court alone determines the forfeiture amount at sentencing.”)
(internal citation omitted). “[I]f the government does not seek specific property, but rather a
personal money judgment, the court itself determines the amount of money that the defendant will
be ordered to pay. The defendant is not entitled to have the jury decide the amount of the
forfeiture.” United States v. Roberts, 631 F. Supp. 2d 223, 225 (E.D.N.Y. 2009) (internal quotation
marks and citations omitted). 1

        The Government provided both Rule 16 discovery material and § 3500 material relating to
the loss suffered by Bank of America in connection with the offenses of conviction. The
Government provided records to the Probation Office substantiating the need for restitution and
forfeiture in the amount of $259,988.17. Today, the Government learned that Bank of America
was able to offset certain losses it suffered, and the Government promptly notified the Court and
the defense that it was seeking a lower amount of forfeiture and restitution – more favorable to the
defendant – based on updated information from the victim of Teman’s fraud scheme. See Dkt. No.
174.

        For the reasons set forth herein, the Government intends to seek forfeiture and restitution
in the amount of $245,862.95.


                                                                 Respectfully submitted,

                                                                 AUDREY STRAUSS
                                                                 Acting United States Attorney

                                                           By:      /s/
                                                                 Kedar S. Bhatia
                                                                 Assistant United States Attorney
                                                                 (212) 637-2465




1
  Title 18, United States Code, Section 982(a)(2) provides that the Court shall, in imposing sentence for a conviction
for wire fraud, order that a defendant “forfeit to the United States any property constituting, or derived from, proceeds
the person obtained directly or indirectly, as the result of such violation.” Title 18, United States Code, Section
981(a)(1)(C) provides for the forfeiture of “[a]ny property, real or personal, which constitutes or is derived from
proceeds traceable to a violation” of the bank fraud statute.
